Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
10/06/2017 08:11 AM CDT




                                                       - 435 -
                                  Nebraska Supreme Court A dvance Sheets
                                          297 Nebraska R eports
                                        GREENWOOD v. J.J. HOOLIGAN’S
                                             Cite as 297 Neb. 435



                       Lori Greenwood,         appellant, v.
                                                          J.J. Hooligan’s, LLC,
                               formerly known as    Pies &amp; Pints, LLC, and
                                 FirstComp   Insurance Company, appellees.
                                                  ___ N.W.2d ___

                                        Filed August 4, 2017.    No. S-16-932.

                1.	 Workers’ Compensation: Appeal and Error. Pursuant to Neb. Rev.
                    Stat. § 48-185 (Cum. Supp. 2016), an appellate court may modify,
                    reverse, or set aside a Workers’ Compensation Court decision only when
                    (1) the compensation court acted without or in excess of its powers; (2)
                    the judgment, order, or award was procured by fraud; (3) there is not
                    sufficient competent evidence in the record to warrant the making of the
                    order, judgment, or award; or (4) the findings of fact by the compensa-
                    tion court do not support the order or award.
                2.	____: ____. Determinations by a trial judge of the Workers’
                    Compensation Court will not be disturbed on appeal unless they are
                    contrary to law or depend on findings of fact which are clearly wrong in
                    light of the evidence.
                3.	 Workers’ Compensation: Insurance: Contracts: Notice. There is
                    no requirement in Neb. Rev. Stat. § 48-144.03 (Reissue 2010) that a
                    notice of cancellation sent by certified mail actually be received by
                    the employer.
                4.	 Workers’ Compensation: Insurance: Contracts: Notice: Proof. To
                    show compliance with Neb. Rev. Stat. § 48-144.03 (Reissue 2010), the
                    insurer need only prove that it sent the notice of cancellation by certified
                    mail to the employer.
                5.	 Insurance: Contracts: Notice: Proof. When an insurance carrier is
                    statutorily required to provide notice of cancellation before terminating
                    a policy, the burden of establishing an effective cancellation before a
                    loss is on the insurer.
                6.	 Notice: Proof. A party may prove it has mailed an item by direct proof
                    of actual deposit with an authorized U.S. Postal Service official or in an
                    authorized depository.
                                   - 436 -
             Nebraska Supreme Court A dvance Sheets
                     297 Nebraska R eports
                     GREENWOOD v. J.J. HOOLIGAN’S
                          Cite as 297 Neb. 435
 7.	 ____: ____. Absent direct proof of actual deposit with an authorized
     U.S. Postal Service official or in an authorized depository, proof of a
     course of individual or office practice that letters which are properly
     addressed and stamped are placed in a certain receptacle from which an
     authorized individual invariably collects and places all outgoing mail
     in a regular U.S. mail depository and that such procedure was actually
     followed on the date of the alleged mailing creates an inference that a
     letter properly addressed with sufficient postage attached and deposited
     in such receptacle was regularly transmitted and presents a question for
     the trier of fact to decide.
 8.	 Appeal and Error. An appellate court is not obligated to engage in an
     analysis that is not necessary to adjudicate the case and controversy
     before it.

  Appeal from the Workers’ Compensation Court: Thomas E.
Stine, Judge. Reversed and remanded for further proceedings.
   Rolf Edward Shasteen, of Shasteen &amp; Morris, P.C., L.L.O.,
for appellant.
  L. Tyler Laflin and Joshua R. Woolf, of Engles, Ketcham,
Olson &amp; Keith, P.C., for appellee FirstComp Insurance
Company.
   Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
K elch, and Funke, JJ.
   Funke, J.
                     NATURE OF CASE
   This case concerns whether an insurance company com-
plied with the notice of cancellation requirements under
Neb. Rev. Stat. § 48-144.03 (Reissue 2010). The Nebraska
Workers’ Compensation Court dismissed FirstComp Insurance
Company (FirstComp) as a defendant upon finding that
FirstComp complied with § 48-144.03 and, therefore, did
not carry workers’ compensation insurance for appellee J.J.
Hooligan’s, LLC, formerly known as Pies &amp; Pints, LLC, at
the time of appellant Lori Greenwood’s injury. We conclude
the compensation court erred in finding that FirstComp pro-
vided sufficient evidence of its compliance with the notice
                             - 437 -
           Nebraska Supreme Court A dvance Sheets
                   297 Nebraska R eports
                 GREENWOOD v. J.J. HOOLIGAN’S
                      Cite as 297 Neb. 435
of cancellation requirement in § 48-144.03 and in dismissing
FirstComp as a party. Therefore, we reverse, and remand for
further proceedings.

                            FACTS
   On January 14, 2012, Greenwood was injured while acting in
the scope and course of her employment with J.J. Hooligan’s.
One of the owners of J.J. Hooligan’s provided Greenwood with
J.J. Hooligan’s insurance carrier’s contact number. After call-
ing the contact number provided, Greenwood received a return
call and was informed that because of nonpayment, FirstComp
was not the workers’ compensation insurance carrier on the
date of the accident.
   Greenwood subsequently filed a petition against J.J.
Hooligan’s and FirstComp, seeking workers’ compensation
benefits. FirstComp moved to dismiss, arguing that it was not
a proper party, because it had notified J.J. Hooligan’s prior to
January 2012, in compliance with § 48-144.03, that it had ter-
minated its insurance coverage for nonpayment of its premium
and, therefore, did not provide workers’ compensation insur-
ance to J.J. Hooligan’s on the date of the accident.
   At the hearing, the compensation court admitted three
exhibits from FirstComp that were relevant to the motion to
dismiss. Exhibit 1 contained an affidavit of Mandy Johnson,
a FirstComp employee, which stated that on November 2,
2011, a notice of cancellation of workers’ compensation insur-
ance policy No. WC0124824-01 was sent by certified mail
to J.J. Hooligan’s for nonpayment; that FirstComp uses an
electronic mailing system through the U.S. Postal Service
(USPS) to send its certified mail; that the certified mail num-
ber generated by the USPS was 9171999991703112609757;
that because the mailing was completed through an electronic
mailing system, there was no physical receipt or ticket pro-
duced; and that the USPS keeps records of certified mail-
ings for a period of 2 years and the system that FirstComp
uses, through the USPS, keeps records for a period of 3 years.
                            - 438 -
          Nebraska Supreme Court A dvance Sheets
                  297 Nebraska R eports
                 GREENWOOD v. J.J. HOOLIGAN’S
                      Cite as 297 Neb. 435
Attached to the affidavit were an internal spreadsheet record
of FirstComp which showed that notice was sent on November
3, 2011, for policy No. WC0l24824-01 and a copy of the
notice of cancellation.
   Exhibit 2 contained the proof-of-coverage pages from the
Nebraska Workers’ Compensation Court showing that cancel-
lation was received by the compensation court in November
2011 and that the policy was canceled November 19, 2011.
   Exhibit 3 included an affidavit from another FirstComp
employee and a copy of J.J. Hooligan’s installment payment
activity. The employee’s affidavit stated that he had personal
knowledge of FirstComp procedures for canceling coverage
and J.J. Hooligan’s account information and that a cancel-
lation notice for policy No. WC0124824-01 was sent to J.J.
Hooligan’s on November 2, 2011, for nonpayment of premium
since July 14, 2011. It also stated that no payment of the pre-
mium was received after notice of cancellation was sent, so
the cancellation became effective November 19.
   The compensation court found that there was sufficient
evidence to establish that FirstComp timely sent a notice
of cancellation to J.J. Hooligan’s by certified mail. It cited
Johnson’s affidavit stating that the notice of cancellation had
been sent, the fact that a certified mail tracking number had
been created for the notice of cancellation, and the fact that
FirstComp provided notice of cancellation to the compensa-
tion court. Accordingly, the compensation court ruled that J.J.
Hooligan’s insurance coverage through FirstComp was can-
celed on November 19, 2011. As a result, the compensation
court dismissed FirstComp as a defendant, because it was not
a proper party. Greenwood appealed.

                ASSIGNMENTS OF ERROR
   Greenwood asserts, restated, that the compensation court
erroneously found that (1) FirstComp proved that it had com-
plied with § 48-144.03’s notification requirements and (2)
FirstComp was not liable to Greenwood, because it was not
                                  - 439 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                      GREENWOOD v. J.J. HOOLIGAN’S
                           Cite as 297 Neb. 435
J.J. Hooligan’s workers’ compensation insurance carrier on
January 14, 2012.
                   STANDARD OF REVIEW
   [1] Pursuant to Neb. Rev. Stat. § 48-185 (Cum. Supp. 2016),
an appellate court may modify, reverse, or set aside a Workers’
Compensation Court decision only when (1) the compensa-
tion court acted without or in excess of its powers; (2) the
judgment, order, or award was procured by fraud; (3) there is
not sufficient competent evidence in the record to warrant the
making of the order, judgment, or award; or (4) the findings
of fact by the compensation court do not support the order
or award.1
   [2] Determinations by a trial judge of the Workers’
Compensation Court will not be disturbed on appeal unless
they are contrary to law or depend on findings of fact which
are clearly wrong in light of the evidence.2
                          ANALYSIS
   FirstComp contends that it was not J.J. Hooligan’s workers’
compensation insurance carrier at the time of Greenwood’s
accident, because it had canceled the policy for nonpayment
of premium, under the requirements of § 48-144.03. It argues
that its evidence of a certified mail tracking number, the tes-
timony of two employees, and the fact that it provided notice
of cancellation to the compensation court proves that it pro-
vided sufficient evidence for the compensation court to find
in its favor.
   Greenwood contends that FirstComp neither entered a
return receipt into evidence nor provided evidence of an office
practice for sending mail. She asserts that the existence of a
tracking number does not itself prove that the notice of can-
cellation was actually mailed. Accordingly, she contends that

 1	
      Interiano-Lopez v. Tyson Fresh Meats, 294 Neb. 586, 883 N.W.2d 676      (2016).
 2	
      Id.                                    - 440 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                       GREENWOOD v. J.J. HOOLIGAN’S
                            Cite as 297 Neb. 435
there is a genuine issue of fact regarding whether the notice of
cancellation was sent to J.J. Hooligan’s.
   Section 48-144.03 prescribes the requirements for a notice
of cancellation of workers’ compensation insurance policies.
It states that “coverage under a workers’ compensation insur-
ance policy shall continue in full force and effect until notice
is given in accordance with this section.”3 Regarding the
cancellation of a policy within the policy period, it states that
“[n]o cancellation . . . shall be effective unless notice of the
cancellation is given by the workers’ compensation insurer
to the Nebraska Worker’s Compensation Court and to the
employer.”4 Finally, the statute states:
      The notices required by this section shall be provided
      in writing and shall be deemed given upon the mailing
      of such notices by certified mail, except that notices
      from insurers to the compensation court may be provided
      by electronic means [and] shall be deemed given upon
      receipt and acceptance by the compensation court.5
   [3,4] Unlike a notice of cancellation sent to the compen-
sation court by electronic means, there is no requirement in
§ 48-144.03 that a notice of cancellation sent by certified mail
actually be received by the employer. Thus, there is no require-
ment that a return receipt be executed by the employer. Instead,
to show compliance with § 48-144.03, the insurer need only
prove that it sent the notice of cancellation by certified mail to
the employer.
   [5] When an insurance carrier is statutorily required to
provide notice of cancellation before terminating a policy, the
burden of establishing an effective cancellation before a loss is
on the insurer.6

 3	
      § 48-144.03(1).
 4	
      § 48-144.03(2).
 5	
      § 48-144.03(10).
 6	
      Barnes v. American Standard Ins. Co. of Wis., ante p. 331, ___ N.W.2d
      ___ (2017).
                                     - 441 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                        GREENWOOD v. J.J. HOOLIGAN’S
                             Cite as 297 Neb. 435
   [6,7] A party may prove it has mailed an item by “direct
proof of actual deposit with an authorized U.S. Postal Service
official or in an authorized depository.”7 However, we have
also stated:
      “[A]bsent direct proof of actual deposit with an autho-
      rized U.S. Postal Service official or in an authorized
      depository[,] . . . proof of a course of individual or office
      practice that letters which are properly addressed and
      stamped are placed in a certain receptacle from which an
      authorized individual invariably collects and places all
      outgoing mail in a regular U.S. mail depository and that
      such procedure was actually followed on the date of the
      alleged mailing creates an inference that a letter properly
      addressed with sufficient postage attached and deposited
      in such receptacle was regularly transmitted and presents
      a question for the trier of fact to decide.”8
   In Houska v. City of Wahoo,9 we considered the statutory
requirement that a county judge transmit an appraisal report to
a condemnee—by personal delivery or the sending by ordinary
mail—within 10 days of receiving it. A defendant introduced
an affidavit of a judge, stating that the judge had sent the
report in a prepaid envelope addressed to the plaintiffs and
placed it in either a USPS depository or the Saunders County
Court outgoing mail box.10 We held that this evidence was
insufficient as a matter of law to prove the report was prop-
erly mailed.11
   In Baker v. St. Paul Fire &amp; Marine Ins. Co.,12 we con-
sidered whether a plaintiff who claimed to have mailed her

 7	
      Houska v. City of Wahoo, 235 Neb. 635, 641, 456 N.W.2d 750, 754 (1990).
 8	
      Baker v. St. Paul Fire &amp; Marine Ins. Co., 240 Neb. 14, 18, 480 N.W.2d
      192, 197 (1992), citing Houska, supra note 7.
 9	
      Houska, supra note 7.
10	
      Id.11	
      Id.12	
      Baker, supra note 8.
                                   - 442 -
                Nebraska Supreme Court A dvance Sheets
                        297 Nebraska R eports
                        GREENWOOD v. J.J. HOOLIGAN’S
                             Cite as 297 Neb. 435
final premium installment was entitled to a receipt-of-mail
presumption, which required a showing that the premium was
properly mailed. The plaintiff testified that she deposited the
stamped and preaddressed envelope in the mail chute at her
office building.13 Although she testified that the mail chute led
to the building’s mailroom, she provided
      no evidence that the mailroom was operated under the
      auspices of the U.S. Postal Service or that it was a U.S.
      Postal Service depository. Neither was there any evidence
      . . . that an authorized individual invariably collected and
      placed all outgoing mail collected from the mailroom in
      a regular U.S. mail depository or that such a procedure
      was actually followed on [that day].14
Accordingly, we held that the plaintiff failed to prove as
a matter of law that she had properly mailed her premium
payment.15
   The affidavit of Johnson states that the notice of cancel-
lation was sent via certified mailed and provides a tracking
number for the notice. However, Johnson did not testify to
having delivered the notice of cancellation to a USPS official
or depository. Additionally, we recently stated that a tracking
number alone does not establish certified mail service.16
   Further, we agree with Greenwood that FirstComp has not
provided sufficient proof of a course of office practice to send
cancellation notices. FirstComp asserts that the fact that it uses
an electronic mailing system through USPS is proof of its
course of office practice. However, FirstComp failed to make
any description of what its electronic mailing system entails.
From the record, we cannot discern how the electronic system
sends a notice of cancellation by certified mail.

13	
      Id.14	
      Id. at 18, 480 N.W.2d 197.
15	
      Id.16	
      See Barnes, supra note 6.
                                    - 443 -
               Nebraska Supreme Court A dvance Sheets
                       297 Nebraska R eports
                       GREENWOOD v. J.J. HOOLIGAN’S
                            Cite as 297 Neb. 435
   It is not our intent to discourage the use of electronic mail-
ing systems, but a party is still required to adduce sufficient
evidence to detail what its electronic mailing system involves.
Testimony as to how an electronic mailing system produces
such notices and sends them by certified mail would provide
proof that a notice was sent in compliance with § 48-144.03.
   Accordingly, we hold that there is not sufficient competent
evidence in the record to show that FirstComp complied with
its statutory duty to send J.J. Hooligan’s a notice of cancella-
tion by certified mail before terminating its policy. Therefore,
the court erred in granting FirstComp’s motion to dismiss.
   [8] Because we have determined the compensation court
erred in sustaining FirstComp’s motion to dismiss, we need
not address Greenwood’s argument that the court erred in not
considering an adverse inference based on spoliation regarding
the notice. An appellate court is not obligated to engage in an
analysis that is not necessary to adjudicate the case and con-
troversy before it.17
                        CONCLUSION
   FirstComp failed to present sufficient competent evidence
as to whether it complied with the employer notice of cancel-
lation requirement in § 48-144.03 to warrant an order of dis-
missal. Accordingly, the compensation court erred in sustaining
the motion to dismiss in favor of FirstComp. We, therefore,
reverse the compensation court’s order and remand the cause
for further proceedings.
	R eversed and remanded for
	                               further proceedings.

17	
      Estermann v. Bose, 296 Neb. 228, 892 N.W.2d 857 (2017).
